20-01010-jlg     Doc 21     Filed 07/17/20 Entered 07/17/20 11:00:23               Main Document
                                          Pg 1 of 7
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                                           July 17, 2020

BY ECF

Honorable James L. Garrity, Jr.
United States Bankruptcy Judge
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, NY 10004

               Re: Dalia Genger v. Orly Genger, et al., Adv. Pro. No. 20-01010 (JLG)

Dear Judge Garrity,

       We write on behalf of defendants Orly Genger, Michael Bowen, Eric Herschmann, the

Genger Litigation Trust, ADBG LLC, Tedco, Inc., the Genger Litigation Trust, Arnold Broser,

David Broser, and Arie Genger. Just two days ago, and over 8 hours after the noticed objection

deadline, Plaintiff Dalia Genger filed a purported “cross-motion” for summary judgment as part

of her opposition to the various movants’ motions to dismiss her constructive trust action.

(Docket Nos. 19, 20). Dalia’s unauthorized “cross-motion,” which requests a hearing just six

days later, was filed in direct violation of the Bankruptcy Rules and the Local Rules.

       Bankruptcy Rule 7056 provides, in relevant part, that “any motion for summary judgment

must be made at least 30 days before the initial date set for an evidentiary hearing on any issue

for which summary judgment is sought, unless a different time is set by local rule or the court

orders otherwise.” Local Rule 7056-1(a) provides as follows:

               Unless the Court orders otherwise, no party shall file a motion for
               summary judgment without first seeking a pre-motion conference.
               The request for a pre-motion conference shall be made by letter,
20-01010-jlg      Doc 21     Filed 07/17/20 Entered 07/17/20 11:00:23             Main Document
                                           Pg 2 of 7


               filed with the Court, on the docket of the case, and served on all
               other parties setting forth the issues to be presented in the motion
               and the grounds for relief. Unless the Court otherwise directs, the
               letter shall not exceed two pages in length.

       Dalia’s “cross-motion” violates each of these rules. Dalia failed to request a pre-motion

conference before filing her purported “cross-motion.” Her counsel never disclosed Dalia’s

intent to seek such relief at this time, including at the July 2, 2020 conference before the Court at

which the parties extensively discussed, and the Court established a schedule for, the motion to

dismiss. No evidentiary hearing on a summary judgment motion has been scheduled, and the

“cross-motion” fails to provide the required 30 days’ notice from a presently non-existent

summary judgment hearing.

      Dalia’s “cross-motion” thus further exemplifies the “rules don’t apply to us” mentality

consistently deployed by Dalia and her cohorts. Indeed, Dalia now seeks summary judgment

despite claiming that she is too incapacitated to testify, and arguing just two paragraphs earlier in

her opposition that she should be granted leave to amend her already amended complaint because

“issue has not been joined, substantive discovery has not commenced and the case is still in its

earliest stage” (Docket No. 19 at 33).

      Because the “cross-motion” violates the Local Rules and the Bankruptcy Rules, it is

procedurally defective and therefore void. Should the Court deny the movants’ motions to

dismiss this adversary proceeding, which it should not, it can then consider a request by Dalia to

seek summary judgment in accordance with the Bankruptcy Rules and Local Rules.

      Accordingly, unless otherwise ordered by the Court, the parties hereto do not intend to

respond to the “cross-motion’s” substantive, as opposed to procedural, deficiencies, and reserve

all rights, claims and defenses relating thereto. We simply note that summary judgment could

never be granted in Dalia’s favor because Dalia has previously submitted sworn testimony that


                                                  2
20-01010-jlg      Doc 21     Filed 07/17/20 Entered 07/17/20 11:00:23           Main Document
                                           Pg 3 of 7


the property over which she now seeks a constructive trust – because it allegedly belongs to her –

instead “belongs to the Orly Trust and no one else.” (See Exhibit A ¶ 3). While we dispute that

contention, it is directly inconsistent with Dalia’s amended complaint and exemplifies its

frivolous nature. It also warrants sanctions.

                                                     Respectfully submitted,

                                                     ADBG LLC, TEDCO, INC., ARNOLD
                                                     BROSER AND DAVID BROSER

                                                     /s/ Christopher Gartman
                                                     By: Christopher Gartman
                                                     Hughes Hubbard & Reed LLP

                                                     ORLY GENGER

                                                     /s/ Yann Geron
                                                     By: Yann Geron
                                                     Reitler Kailas & Rosenblatt LLC


                                                     ERIC HERSCHMANN

                                                     /s/ Eric Herschmann


                                                     MICHAEL BOWEN

                                                     /s/ Michael Bowen


                                                     ARIE GENGER

                                                     /s/ Frank Oswald
                                                     By: Frank A. Oswald
                                                     Togut, Segal & Segal LLP


                                                     LANCE HARRIS, AS TRUSTEE OF THE
                                                     GENGER LITIGATION TRUST

                                                     /s/ Lance Harris

cc: All Counsel of Record (by ECF)


                                                3
20-01010-jlg   Doc 21   Filed 07/17/20 Entered 07/17/20 11:00:23   Main Document
                                      Pg 4 of 7



                                   EXHIBIT A
FILED: NEW YORK COUNTY CLERK 02/20/2015 06:20 PM                                                    INDEX NO. 651089/2010
NYSCEF DOC.20-01010-jlg
            NO. 1242          Doc 21       Filed 07/17/20 Entered 07/17/20 11:00:23RECEIVED
                                                                                     Main Document
                                                                                            NYSCEF: 02/20/2015
                                                         Pg 5 of 7



          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------------------------------x
          ARIE GENGER and ORLY GENGER, in her                            :
          individual capacity and on behalf of
          THE ORLY GENGER 1993 TRUST,                                    :    Index No. 651089/2010
                                                                              (Jaffe, B. JSC)
                                    Plaintiffs,                               Motion Sequence #42
                                                                        :
                                    -against-

          SAGI GENGER, TPR INVESTMENT                                   :
          ASSOCIATES, INC., DALIA GENGER, THE
          SAGI GENGER 1993 TRUST, ROCHELLE                              :
          FANG, individually and as trustee of THE SAGI
          GENGER 1993 TRUST, GLENCLOVA                                  :
          INVESTMENT COMPANY, TR INVESTORS,
          LLC, NEW TR EQUITY I, LLC, NEW TR                             :
          EQUITY II, LLC, JULES TRUMP, EDDIE
          TRUMP AND MARK HIRSCH,                                        :     Affidavit of Dalia Genger

                                     Defendants.
          ----------------------------------------------------------------x
          SAGI GENGER, individually and as assignee of                   :
          THE SAGI GENGER 1993 TRUST, and TPR
          INVESTMENT ASSOCIATES, INC.                                    :

                  Cross-Claimants, Counterclaimants, and                :
                  Third-Party Claimants,
                                                                        :
                                    -against-
                                                                        :
          ARIE GENGER, ORLY GENGER,
          GLENCLOVA INVESTMENT COMPANY,                                  :
          TR INVESTORS, LLC, NEW TR EQUITY I, LLC,
          NEW TR EQUITY II, LLC, JULES TRUMP,                            :
          EDDIE TRUMP, MARK HIRSCH,
          TRANS-RESOURCES, INC., WILLIAM                                 :
          DOWD, and THE ORLY GENGER 1993 TRUST,
                                                                         :
                   Cross-Claim, Counterclaim and/or
                   Third-Party Defendants.                               :
          ----------------------------------------------------------------x
           State of New York
                                     Ss.
          County of New York
20-01010-jlg    Doc 21     Filed 07/17/20 Entered 07/17/20 11:00:23              Main Document
                                         Pg 6 of 7




     DALIA GENGER, being duly sworn, deposes and says:

   1. I, as the trustee of the Orly Genger 1993 Trust (the “Orly Trust”), am the moving party in

      this matter. I am fully familiar with the facts of this matter. I make this affidavit, based

      upon my personal knowledge, in further support of my motion for payment of the

      Trump Group Settlement money into Court.

   2. One might ask, after all of the ill will and litigation in my family, why I would care

      whether the Trump Group Settlement money is paid to the Orly Trust via deposit into

      Court or, instead, to Orly either directly or indirectly?

   3. Here is the reason: Because the money belongs to the Orly Trust and no one else.

   4. As one court has recently found, Orly, by virtue of the Trump Group Settlement,

      “monetized her beneficial interest in the Orly Trust shares….” Thus, the settlement

      proceeds must be safeguarded for the Orly Trust.

   5. However, as it stands now, neither the Orly Trust nor, I believe, even Orly herself, is the

      principal beneficiary of the Trump Group Settlement. Rather, the “AG Group” (three of

      whose members are not Orly) is getting the funds.

   6. Like any good parents, when my ex-husband Arie and I originally established the Orly

      Trust, our goals was to improve our daughter’s, and also specifically our grandchildren’s

      (hopefully her kids’), lives. These funds should be used for what we intended –

      financing education, improving health, and generally helping Orly and our grandchildren

      build a better life. It is abhorrent that these funds, the product of a thirty-three year

      marriage, will instead be used to finance lawyers.

   7. The money should not be frittered away. It was intended as a source of wealth for many

      years and for multiple generations. I ask the Court to help make that happen.
20-01010-jlg   Doc 21   Filed 07/17/20 Entered 07/17/20 11:00:23   Main Document
                                      Pg 7 of 7
